Case 2:06-cr-20664-RHC-RSW ECF No. 64, PageID.434 Filed 02/20/08 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                   Case No. 06-CR-20664-01

ABDUL WAHEED KHAN, et al.

              Defendants.
                                                 /

                  OPINION AND ORDER DENYING “DEFENDANT’S
                      MOTION TO WITHDRAW GUILTY PLEA”

       Pending before the court is Defendant Abdul Waheed Khan’s “Motion to

Withdraw Guilty Plea,” filed on January 7, 2008. The matter is fully briefed and the

court concludes that a hearing is not necessary. See E.D. Mich LCrR 12.1; E.D. Mich.

LR 7.1(e)(2). The court will deny the motion for the following reasons.

                                      I. STANDARD

       A defendant may withdraw a plea of guilty after the court accepts the plea but

before sentence is imposed if “the defendant can show a fair and just reason for

requesting the withdrawal.” Fed. R. Crim. P. 11(d). According to the Sixth Circuit:

       The purpose of Rule 11(d) is to allow a “hastily entered plea made with
       unsure heart and confused mind to be undone, not to allow a defendant to
       make a tactical decision to enter a plea, wait several weeks, and then
       obtain a withdrawal if he believes that he made a bad choice in pleading
       guilty.”
United States v. Dixon, 479 F.3d 431, 436 (quoting United States v. Alexander, 948

F.2d 1002, 1004 (6th Cir. 1991) (internal quotation marks omitted)). Courts consider

several factors in determining whether a defendant has met his burden to provide a fair

and just reason for withdrawal of his guilty plea:
Case 2:06-cr-20664-RHC-RSW ECF No. 64, PageID.435 Filed 02/20/08 Page 2 of 4




       (1) the amount of time that elapsed between the plea and the motion to
       withdraw it; (2) the presence (or absence) of a valid reason for the failure
       to move for withdrawal earlier in the proceedings; (3) whether the
       defendant has asserted or maintained his innocence; (4) the
       circumstances underlying the entry of the guilty plea; (5) the defendant's
       nature and background; (6) the degree to which the defendant has had
       prior experience with the criminal justice system; and (7) potential
       prejudice to the government if the motion to withdraw is granted.
Id. (citations omitted). These factors are general and non-exclusive and no one factor is

controlling. United States v. Bazzi, 94 F.3d 1025, 1027 (6th Cir. 1996).

                                     II. DISCUSSION

       Defendant has failed to show a fair and just reason for withdrawing his guilty

plea. About four months elapsed between when Defendant signed the plea agreement

on July 17, 2007 and when he first voiced displeasure with the plea on his original

sentencing date of November 15, 2007. The plea agreement contains clear terms,

including a summary of Khan’s admitted criminal conduct: conspiring to fraudulently

obtain a $944,000 loan from Business Loan Express (“BLX”) and guaranteed by the

Small Business Administration (“SBA”). The circumstances surrounding his plea

indicate a knowing and voluntary decision. Regarding Defendant’s nature and

background, the court finds nothing significant that weighs in Defendant’s favor, despite

the rather overblown attempts of his counsel to cast him as an uneducated immigrant

with suspected serious psychological difficulties. Defendant admittedly has little or no

record of prior experience with the criminal justice system. The government’s brief

outlines the prejudice it would suffer if the motion were granted: (1) the lost opportunity

to try Defendant jointly with a co-conspirator and (2) relying upon newly involved




                                             2
Case 2:06-cr-20664-RHC-RSW ECF No. 64, PageID.436 Filed 02/20/08 Page 3 of 4




counsel to prosecute an investigation lasting over two years. On balance, the non-

exhaustive list of factors weighs conclusively against Defendant’s request.

       The remainder of Defendant’s motion raises meritless arguments. Defendant

contends that BLX reneged on an agreement to settle their contractual dispute and to

release its lien on his house in exchange for $5,000. Even if Defendant’s disputed story

is factually accurate, it is for purposes of his motion legally insignificant. The plea

agreement is between him and the government, not BLX. The conduct of a third party

simply carries no weight in deciding the question of whether Defendant should be

allowed to withdraw from his plea agreement.

       Defendant also argues that BLX induced or facilitated its own loss and therefore

Defendant’s offense level should be lower than the level to which he agreed, under

oath, in his guilty plea. The level of loss cannot be reasonably disputed. Further, even

if certain BLX agents and employees are culpable for their own fraudulent conduct, BLX

as an entity, its shareholders and the SBA are still aggrieved victims. Defendant cannot

argue that his crime was victimless and therefore he should be released from the full

consequences of agreeing to a plea of guilty. Defendant has failed to meet the

requirements of Federal Rule of Criminal Procedure 11 and the court will therefore deny

his motion.

                                     III. CONCLUSION

       IT IS ORDERED that “Defendant’s Motion to Withdraw Guilty Plea” [Dkt # 56] is

DENIED.
                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


                                              3
Case 2:06-cr-20664-RHC-RSW ECF No. 64, PageID.437 Filed 02/20/08 Page 4 of 4




Dated: February 20, 2008

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 20, 2008, by electronic and/or ordinary mail.

                                                                S/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




S:\Cleland\JUDGE'S DESK\C2 ORDERS\06-20664.KHAN.DenyMotiontoWithdrawfromPleaAgreement.2.wpd



                                                                    4
